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United States District Court
Eastern District of New York                                      1:18-cv-05188

Sean Duffy individually and on behalf of all
others similarly situated
                                 Plaintiff

                   - against -                                      Complaint

Core Nutrition, LLC
                                 Defendant


       Plaintiff by attorneys allege upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:

       1.      Core Nutrition LLC (“defendant”) manufactures, distributes, markets, labels and

sells bottled water products under the “Core Hydration” line in various sized bottles, including 20

oz (591 mL).

       2.      The Products emphasize their ability to provide hydration beyond that supplied by

non-Core Hydration products, due to its purported pH level.

       3.      The below images are examples of a bar and pieces product label.

       4.      The principal display panel contains the product name, “Core Hydration,” and the

identity statement/description of the product as “Nutrient Enhanced Perfect pH* Water with

Electrolytes & Minerals.”

       5.      The asterisk refers to the “Perfect pH: 7.4* - your body's natural pH balance.”




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       6.    The supplemental panel of the Products state:

       The pH that naturally occurs in your body happens to be perfect, so it should
       come as no surprise that we mirrored our water after it.

       core® hydration is ultra purified for a clean, crisp taste and has just the right
       amount of electrolytes & minerals to match your body's natural pH of 7.4...or
       simply put - the Perfect pH.

       So, no matter what you do to get thirsty, hydrate with Core® and feel the benefits
       of Perfect pH Water.

       7.    The side panel of the Products states, “Electrolytes + minerals for hydration and

balance.”

       8.    Defendant claims the Product contains “electrolytes + minerals, for hydration and

balance” referring to “your body’s natural pH balance” of 7.4.


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       9.    Defendant utilizes the plus symbol, a universal sign of gaining health.

       10.   The product name, “Core Hydration,” implies and suggests a special, targeted

hydration benefit.

       11.   The dictionary defines core as the central, innermost or most essential part of

anything.

       12.   “Core” is also used synonymously with “magnetic core,” which refers to electricity,

viz, the piece of iron, bundle of iron wires, or other ferrous material forming the central or inner

portion in an electromagnet, induction coil, transformer, or the like.

       13.   The second definition is relevant because the product can be described as

electrolyzed-reduced alkaline water.

       14.   Reasonable consumers understand core as a term of scientific significance, such as

“core temperature” and the term “core hydration” implies the regulation and special benefits the

product provides to said core.

       15.   The idea behind the defendant’s “Perfect pH Water” is that foods which contain acid-

producing elements will generally lead the body to become acidic, with consequent negative

outcomes.

       16.   Advocates for consumption of foods which are alkaline claim that since the normal

pH of the blood is slightly alkaline (above 7 on a scale of 0-14), one should consume foods which

mirror this pH level – foods considered to be alkaline.

       17.   The notion that people should consume foods with a certain pH level to achieve

optimal functioning is at odds with medical science and chemistry of how the human body

functions.




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       18.    Defendant utilizes the plus symbol a universal sign of gaining health, when the

product is no different in the claimed effect than any bottled or tap water.

       19.    Defendant claims that because the product has the same pH as the body, this imparts

an extra-functional benefit to its product.

       20.    To reasonable consumers, this would appear to be something of value, when in fact,

it is of no significance because those benefits are physiologically impossible to provide.

       21.    All consumed food travels to the highly acidic stomach, with a pH of c. 3.0.

       22.    The low pH is necessary to break it down and sterilize any bacteria ingested.

       23.    After leaving the stomach, the matter goes to the intestines where it is neutralized

and slightly alkalized by pancreatic solutions.

       24.    As a result, everything consumed - once it gets to the intestines–is roughly the same

pH, regardless of its pH at the time it was consumed.

       25.    The most that consumption of foods which are alkaline can do is to change the pH

of the blood minimally and transiently.

       26.    If the pH of blood changes in even a small way, it will cause serious medical

disturbances requiring hospitalization.

       27.    If the blood pH is lower than 7.35 the medical term is acidemia (acidosis), and when

exceeding 7.45, is called alkalemia (alkalosis).

       28.    Whenever the blood pH is abnormal, the body uses multiple lines of defense to

restore a normal blood pH:

   1. biochemical buffering systems operating in both the extracellular and intracellular

       compartments act immediately to prevent excessive fluctuations of the blood pH.




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   2. Alveolar ventilation increases in acidosis and decreases in alkalosis. The respiratory center

       in the medulla oblongata of the brain responds to pH and CO2 within minutes.

   3. The kidneys excrete excess H+ in acidosis and excess HCO3- in alkalosis. This involves

       modulation of the renal tubular reabsorption or ‘reclamation’ of filtered bicarbonates and

       proton secretion. This is a long-term mechanism acts on a time scale of hours to days.


       29.    Extracellular levels of other ions such as Na, K, Ca and inorganic phosphate are also

barely affected by fluctuations in their respective nutritional intakes, unless their variations are

very large in quantity and extend over prolonged periods.

       30.    The promotion of the Products as matching the pH of the body is meaningless,

because it is not expected that human beings can nor should attempt to match the pH of what they

consume to the pH level of their blood.

       31.    The only impact of consuming a product with a pH of 7.4 would be to alter the pH

of the excreted urine to be more or less alkaline, depending on whether one’s dietary habits tend

to the more acidic or alkaline.

       32.    However, urine is not blood, since it is contained in the bladder and then excreted.

       33.    Moreover, significant amounts of the Product would have to be consumed to even

achieve such a transient change in the pH of the blood, which would be almost impossible to do in

a short period of time before the body adjusts the pH back to its normal level.

       34.    To the extent the Products emphasis on the hydration-promoting properties of

alkaline water is based on its ability to reduce blood viscosity and somehow increase hydration is

not physiologically possible because blood viscosity is not impacted by discrete nutritional

disturbances from consuming a non-medicinal beverage.




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        35.   The claims are literally false because all reasonable scientists agree the claims of

relationship between consumption of alkaline foods and the pH level of blood are non-existent.

        36.   The claims are misleading because the vast weight of competent evidence about

mammalian physiology indicates there is no non-medically induced way to adjust the pH level of

the blood to achieve an “optimal” state, nor should such adjustment be attempted unless directed

by a physician.

        37.   Any studies purporting to substantiate defendant’s claims are poorly designed,

incredible and represent the view of a minority of scientists.

        38.   Defendant’s representations that its Product is any more effective at providing

hydration than other non-alkalinized, non-reduced waters, due to its pH level, are false and

misleading.

        39.   There can never be any competent and reliable scientific evidence supporting

Defendant’s representations and Defendant cannot claim, to the extent it does, that its Product is

clinically tested.

        40.   The Products are contained in refrigerated cases adjacent to the non-alkaline water,

which facilitates obtaining a price premium relative to the non-alkaline waters.

        41.   Defendant market their product as a superior source of hydration worthy of a

premium price over other bottled water.

        42.   Excluding tax, the Products cost no less than $2.99, a premium price compared to

other similar products and more expensive than traditional bottled waters.

                                      Jurisdiction and Venue


        43.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2).

        44.   Upon information and belief, the aggregate amount in controversy is more than



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$5,000,000.00, exclusive of interests and costs.

        45.    This Court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to supply and supplies goods within New York.

        46.    Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and in New York.

        47.    A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                          Class Allegations


        48.    The classes consist of all consumers in the following states: all, New York who

purchased any Products with actionable representations during the statutes of limitation.

        49.    A class action is superior to other methods for fair and efficient adjudication of this

controversy.

        50.    The class is so numerous that joinder of all members, even if permitted, is

impracticable, as there are likely hundreds of thousands of members.

        51.    Common questions of law or fact predominate and include whether the

representations were likely to deceive reasonable consumers and if plaintiff(s) and class members

are entitled to damages.

        52.    Plaintiff(s) claims and the basis for relief are typical to other members because all

were subjected to the same representations.

        53.    Plaintiff(s) is/are an adequate representative because his/her/their interests do not

conflict with other members.

        54.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.



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        55.   Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest.

        56.   Plaintiff(s) counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

        57.   Plaintiff(s) seeks class-wide injunctive relief because the practices continue.

                                                  Parties

        58.   Plaintiff is a citizen of Queens County, New York.

        59.   Defendant is a Delaware limited liability company with its principal place of business

in El Segundo, California, and upon information and belief, no member thereof is a citizen of New

York.

        60.   In 2017, plaintiff purchased one or more of the Products for personal consumption,

for no less than $2.99, excluding tax, at a store located within this district.

        61.   Plaintiff paid this premium because prior to purchase, plaintiff saw and relied on the

misleading representations.

                            New York General Business Law (“GBL”) §§ 349 & 350

        62.   Plaintiffs incorporates by references all preceding paragraphs.

        63.   Defendant’s acts, practices, advertising, labeling, packaging, representations and

omissions are not unique to the parties and have a broader impact on the public.

        64.   Plaintiff desired to purchase products which provided the benefits described by

defendant.

        65.   Defendant’s representations are false, unfair, deceptive and misleading for the

reasons described herein.

        66.   The representations and omissions were relied on by plaintiff and class members,

who paid more than they would have otherwise, causing damages.


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                                      Negligent Misrepresentation

       67.   Plaintiff incorporates by references all preceding paragraphs.

       68.   Defendant misrepresented the ability of the Products to achieve the claimed effects.

       69.   Defendant had a duty to disclose, in a manner prescribed by law, that its Products

were not capable of providing said effects.

       70.   At the time of the representations, defendant knew or should have known same were

false or misleading.

       71.   Defendant negligently misrepresented and/or negligently omitted material facts.

       72.   Plaintiff reasonably and justifiably relied on these negligent misrepresentations and

omissions, which served to induce and did induce, the purchase of the Products.

       73.   Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, thereby suffering damages.

             Breach of Express Warranty and Implied Warranty of Merchantability


       74.   Plaintiff incorporates by references all preceding paragraphs.

       75.   Defendant manufactures and sells bottled waters which have been electrolyzed and

have a higher pH level than standard bottled or tap water.

       76.   Defendant warranted to plaintiff and class members that the Products were superior

to non-alkaline waters in providing hydration, due to mirroring the pH of the body, when this was

not truthful and was misleading.

       77.   The Products did not conform to their affirmations of fact and promises, wholly due

to defendant’s actions.

       78.   Plaintiff and class members relied on defendant’s claims, paying more than they

would have otherwise.



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                                                 Fraud


        79.    Plaintiff incorporates by references all preceding paragraphs.

        80.    Defendant’s purpose was to mislead consumers who seek foods which have a

 functional and beneficial effect.

        81.    Defendant is capitalizing on consumer’s shift from sugary juices and carbonated soft

 drinks to calorie-free beverages with beneficial properties.

        82.    Plaintiff and class members observed and relied on defendant’s claims, causing them

 to pay more than they would have otherwise, entitling them to damages.

                                            Unjust Enrichment

        83.    Plaintiff incorporates by references all preceding paragraphs.

        84.    Defendant obtained benefits and monies because the Products were not as

 represented, to the detriment and impoverishment of plaintiff and class members, who seek

 restitution and disgorgement of such inequitably obtained profits.

                                  Jury Demand and Prayer for Relief

 Plaintiff demands a jury trial on all issues.

     WHEREFORE, plaintiffs pray for judgment:

    1. Declaring this a proper class action, certifying plaintiff(s) as representative and the

        undersigned as counsel for the class;

    2. Entering preliminary and permanent injunctive relief by directing defendant(s) to correct

        such practices to comply with the law;

    3. Awarding monetary damages and interest, including treble and punitive damages, pursuant

        to the common law and GBL claims;

    4. Awarding costs and expenses, including reasonable fees for plaintiffs’ attorneys and



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       experts; and

    5. Such other and further relief as the Court deems just and proper.

 Dated: September 14, 2018
                                                               Respectfully submitted,

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                                                               /s/Spencer Sheehan
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 United States District Court
 Eastern District of New York

 Sean Duffy individually and on behalf of all others similarly situated


                                          Plaintiffs


         - against -


 Core Nutrition, LLC

                                          Defendant(s)




                                        Complaint


                                     Sheehan & Associates, P.C.
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                                       Great Neck, NY 11021
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 Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
 New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
 under the circumstances, the contentions contained in the annexed documents are not frivolous.

 Dated: September 14, 2018
                                                                          /s/ Spencer Sheehan
                                                                           Spencer Sheehan
